                           2:22-cv-02002-CSB-EIL # 20             Page 1 of 2
                                                                                                             E-FILED
                                                                           Sunday, 21 August, 2022 12:21:34 PM
                                                                                   Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                          URBANA DIVISION
Michael Moreland, individually and on behalf                      2:22-cv-02002-CSB-EIL
of all others similarly situated,
                                    Plaintiff,

                      - against -

Walmart Inc.,
                                    Defendant

         Plaintiff gives notice that this action is voluntarily dismissed. Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated:     August 21, 2022
                                                             Respectfully submitted,

                                                             Sheehan & Associates, P.C.
                                                             /s/Spencer Sheehan
                                                             Spencer Sheehan
                                                             spencer@spencersheehan.com
                                                             60 Cuttermill Rd Ste 409
                                                             Great Neck NY 11021
                                                             Tel: (516) 268-7080
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                                    Certificate of Service

I certify that on August 21, 2022, I served and/or transmitted the foregoing by the method below
to the persons or entities indicated, at their last known address of record (blank where not
applicable).

                                  CM/ECF           First-Class        Email           Fax
                                                      Mail
 Defendant’s Counsel                 ☒                 ☐               ☐               ☐
 Plaintiff’s Counsel                 ☒                 ☐               ☐               ☐
 Courtesy Copy to Court              ☐                 ☐               ☐               ☐


                                                         /s/ Spencer Sheehan




                                               2
